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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION




MARC VEASEY, et al.,

              Plaintiffs,

       v.                                            Civil Action No. 2:13-cv-193 (NGR)

RICK PERRY, et al.,

              Defendants.




     SECOND SUPPLEMENTAL REBUTTAL DECLARATION OF M.V. HOOD III


I, M.V. Hood III, do hereby declare the following:




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I.      UPDATED ANALYSIS OF REVISED U.S. NO-MATCH LIST

        A. The September No-Match List

On September 12, 2014, I received a revised copy of the U.S. no-match list. I will again update
the section of my initial rebuttal report labeled “Additional Analysis of the U.S. No-Match List.”
Tables 6 and 7 in my original report have been updated using these new data.
For any analyses presented in this section of the report, I make use of the revised U.S. no-match
list dataset as compiled by Professor Ansolabehere that I received on September 12th. In order to
distinguish this list from subsequent no-match lists I will refer to these data as the September no-
match list. From this list, the newest estimate of the number of persons recorded in Texas
Secretary of State’s TEAM database (the voter registration roll) that cannot be matched to a
record in the databases related to the various IDs acceptable under SB 14 stands at 608,470
registrants. These Texas registrants did not return a match from the DPS or any of the federal
databases. With these revised data, the size of the registrant population in this category equates
to 4.51%.1 At the very least, slightly more than 95% of persons appearing on Texas’ voter
registration rolls should already have the necessary identification to comply with SB 14 as
applied to in-person voting.
Comparing the September No-Match List to the Second Combined August No-Match List
In this section I will compare the updated September no-match list to the preceding version of
the U.S. no-match list that I had labeled as the second combined August no-match list in my
supplemental rebuttal declaration, submitted on August 15, 2014. The September no-match list,
at 608,470, represents a drop of 178,257 registrants as compared to the previous no-match list
that stood at 786,727. Well more than a fifth (22.66%) of the previous no-match list then was
incorrectly assumed not to possess valid SB 14 identification. It is my understanding that these
registrants were misclassified based on the license surrendered field in the DPS database. Any
citizen moving from another state seeking to obtain a Texas driver’s license must surrender their
out of state license. The fact that an out of state license was surrendered is in no way an
indication that the registrant in question lacks identification, as most in this category would now
possess a Texas driver’s license. I compared the supplemental file containing 183,408 VUIDs
that had been transmitted on August 5, 2014 (referenced on page 5 of my August 15, 2014
supplemental rebuttal declaration) to the September no-match list. Of the 178,257 additional
matches achieved on the most recent iteration in September, 99.93% (178,138) of the cases can
be found on the August 5th supplemental file just referenced. 2 Turning back to the group of
183,408 registrants on the August 5th supplemental file, only 1.75% (3,214) remained on the no-




1
  Professor Ansolabehere eliminated 76,822 records from the TEAM database who were recorded by DPS as being
deceased. The total number of registrants now stands at 13,487,594.
2
  An additional 119 registrants not on the August 5th supplement and who were previously thought to be without ID
were reclassified on the September list as being in possession of SB 14 identification.

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match side of the equation in September, an indication that most of this group had been
incorrectly classified in August. 3


Estimating the SB 14 Affected Population
In Table 1 of this report, I again make use of known facts about registrants to derive an estimate
of the size of this group who may be affected by SB 14. The revised September U.S. no-match
list contains a total of 608,470 registrants who are assumed to lack valid SB 14 identification. Of
these, this same data source indicates that 73,958 (or 11.96% of the no-match list) are eligible to
be exempted from the law because they have been flagged as being disabled. Registrants in this
category are qualified to vote absentee by mail or can vote in person without identification by
applying for and receiving a permanent disability exemption from their county voter registrar. In
addition, there are 160,389 of the September no-match list who are 65 years of age or older. This
group amounts to over a quarter (27.39%) of the September no-match list. Any registrant 65 or
older can cast a ballot absentee by mail and is, therefore, not subject to the identification
requirements of SB 14 unless they choose to vote in person.
I also re-ran the voter history files against the September no-match list to determine the numbers
of these registrants who had voted since implementation of SB 14. In the first post-
implementation election, there were 21,731 registrants on the no-match list who voted; for the
2014 Senate District 4 special election there were 191; for the March 2014 party primaries there
were 16,340; and for the May party primary run-off elections a total of 8,110. A number of these
registrants cast ballots in multiple elections. In all, across these four elections, there were a total
of 21,731 unique voters, amounting to 3.51% of the September U.S. no-match list.
Of these 21,731 unique voters, 15,342 (70.60%) voted solely in-person (early or at their precinct
on election-day). Another 365 (1.68%) voted absentee by mail in at least one election and in-
person in at least one other election. A total of 6,024 (27.72%) votes were cast exclusively
absentee by mail. Of these unique voters on the September no-match list, over 7 out of 10 voted
at least once using a method (early or on election-day) requiring valid SB identification. Of those
electors voting exclusively absentee by mail, 5,431 (or 90.16% of the total number of unique
absentee-only voters) were 65 years of age or older. Again, any registrant 65 or older is qualified
to vote absentee by mail. Only 517 absentee-only voters were under the age of 65. This amounts
to 8.58% of the total number of absentee-only voters, or 2.38% of the total number of unique
voters. 4 Examining these figures makes it clear that 97.62% of registrants who voted on the
September no-match list are either unaffected by the law (those 65 or older choosing to vote
absentee by mail) or have made adjustments to comply with the law by obtaining SB 14
identification (voted in person). Of course, a third possibility exists. It is still probable that at
least some on the September no-match list are false-negatives and should not be on the list in the
first place. Thus, it would be of no surprise if someone in possession of SB 14 identification and

3
  A further 2,056 registrants on the August 5th supplement were classified as being deceased in the September
iteration of the no-match exercise.
4
  Because of missing values associated with the age variable it was not possible to categorize 1.26% of absentee-only
voters as to whether they were above or below 65 years of age.

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incorrectly placed on the September no-match list was determined to have voted in-person in a
post-implementation election.
Combining the groups associated with disability status, age, and voting history allows for the
computation of a new sub-class of no-match list registrants I will again label the Affected
Population. Any registrant who is thought to currently lack valid SB 14 ID, who is not disabled,
is under the age of 65, and who has not voted since implementation will be placed into this
category as they may be affected by SB 14. On the other hand, any registrant on the September
no-match list who is disabled, or over 65 years of age, or who has voted since implementation
either doesn’t have to be impacted by SB 14 or has already made any necessary adjustments as
witnessed by the fact that they have turned out to vote since implementation. The size of the
affected population stands at 371,666 registrants.
Dividing the size of the affected population by the total number of Texas registrants yields a
figure of 2.76%. To state things in the affirmative, 97.24% of registrants in Texas should be
unaffected by SB 14.


Table 1. Estimating the Number of Texas Registrants who May be Affected by SB 14
(September No-Match List)

                                                                  Frequency                 Percent of Total

Identified as Disabled                                              73,958                       11.96%
65 or Older                                                         160,389                      27.39%
Voted since Implementation of SB14                                  21,731                        3.51%
        2013 Constitutional Amendment                                6,358                        1.03%
        Election
        2014 Special Election-Texas Senate                            191                         0.03%
        District 4
        2014 Primary                                                16,340                        2.64%
        2014 Primary Run-Off                                         8,110                        1.31%


Unaffected Population                                               221,860                      37.31%
Affected Population                                                 371,666                      60.23%
Indeterminate (Due to Missing Data)                                 14,944                        2.46%
Total Cases: September U.S. No-Match List                           608,470                         ----
Notes: Unaffected Population category comprised of any registrant on U.S. no-match list who is disabled, is 65 or
older, or has voted since implementation of SB14.




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Table 2 examines the September no-match list in light of the presence of state identification
numbers. 5 Again, the presence of a state ID number should be an indication that the registrant in
question has, or at one time possessed, a driver’s license or state ID card from the Department of
Public Safety which requires underlying documentation. Even if said driver’s license or state ID
were now expired, registrants falling into this category should have the same necessary
underlying documentation to obtain a free EIC to vote in person if necessary. Of those 608,470
on the September no-match list, 296,226 or 48.68% have a state ID number associated with their
record. Looking at the affected population as compared to the September no-match list as a
whole, 194,326 out of 608,470 do not have a state ID number associated with their record. This
amounts to 29.15% of the September no-match list, which leaves more than two-thirds (68.40%)
of the September no-match list who should be unaffected by SB 14 or should have/are in
possession of some form of expired DPS-issued identification. Comparing the number in the
affected population who lack a state identification number to the total number of registrants, one
finds that it represents only 1.31% of the current number of registrants in the TEAM database.


Table 2. Revised U.S. No-Match List, the Affected Population, and State Identification Numbers
(September No-Match List)

                                                                 Frequency     Percent within
                                                                                 Category

Total Cases with State ID Number                                  296,226         48.68%
            Affected Population with State ID Number              194,326         52.29%
            Affected Population without State ID Number           177,340         47.71%
            Unaffected Population with State ID Number            101,748         45.86%
            Unaffected Population without State ID                120,112         54.14%
            Number
Unaffected Population                                             221,860            ----
Affected Population                                               371,666            ----
Total Cases: September No-Match List                              608,470            ----


             B. Discussion and Conclusion

September U.S. No-Match List
The September no-match list reveals that at least 97% of registrants in Texas are already in
compliance or should be unaffected by SB 14. This figure is considerably less than the size of the
affected population I calculated using the original U.S. no-match list (released in June).
Furthermore, my analysis does not take into account registrants that are currently suspense voters
or registrants that have been flagged by Catalist (for example, as deceased). Either could be an
indication that the voter is deceased or no longer an eligible voter in Texas. While Professor

5
    Denoted as the official_id field in the TEAM database.

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Asnolabehere accounts for such voters, he does not do so while simultaneously removing
registrants that are over the age of 65 or disabled. Doing so would further decrease the size of
any potential affected population.

Finally, a gap in ID possession at the present time certainly cannot be directly extrapolated into a
gap in turnout at some future point in time. Nearly 22,000 registrants (see Table 1) have voted in
a post-implementation election. This fact is some indication that the no-match lists are less than
accurate or that some registrants have made adjustments to comply with SB 14. It is still my
contention that registrants who need to comply with SB 14 in order to vote will continue to do so
and that the size of the affected population of electors will continue to diminish with time. The
2014 midterm in Texas will feature both federal and state contests, which will increase the
degree of political interest in this election cycle. Given this, I would anticipate that if SB 14 is in
effect, a larger proportion of registrants on the no-match lists will make adjustments, if
necessary, and turn out to cast ballots.

SB 14 Effect by Various Population Groups
At this juncture I would also like to present a synopsis concerning the size of various population
groups that have been produced for this case thus far. Summary statistics are located in Table 3
of this report. To begin, the U.S. no-match list produced in September indicates that 608,470, or
4.5%, of registrants in Texas may lack valid SB 14 identification. Of this group, Professor
Ansolabehere estimates that 3.6% of Anglos, 7.5% of blacks, and 5.7% of Hispanics are not in
possession of SB 14 identification. Professor Ansolabehere reports that the differences in ID
possession between Anglos and blacks and Anglos and Hispanics are statistically significant.

Using the Barreto-Sanchez survey data, I previously calculated that 2.8% of registrants may lack
SB 14 identification. Extrapolating to the total registrant population, this figure would equate to
373,790 registrants. From this figure it is estimated that 2.0% of Anglos, 4.5% of blacks, and
3.9% of Hispanics lack SB 14 identification.

The next set of summary figures relate to the size of the affected population. Again, I define the
affected population as any registrant lacking SB 14 identification who does not have a qualifying
disability, is under the age of 65, and who has not cast a ballot in a post-implementation election.
From the September U.S. No-Match list the size of the affected population is estimated to be
371,666, or 2.8% of total registrants. Professor Ansolabehere nor I produced any racial/ethnic
estimates for this population group. Using the Barreto-Sanchez survey data, I calculated the size
of the affected population of registrants to be 1.8%. This figure includes 0.9% of Anglos, 3.3%
of blacks, and 3.1% of Hispanics.

Relying on information in the Barreto-Sanchez survey the affected population can be further
subset to estimate the number of registrants who lack valid SB 14 identification who also do not
possess proof of citizenship documentation that is required to obtain a free EIC. I previously
estimated that 0.9% of registrants fall into this category, which would equate to 124,654
registrants. This includes 1.2% of Anglos, 0.8% of blacks, and 0.6% of Hispanics. The
differences between Anglos and blacks and Hispanics on this measure are not statistically
significant. This is an indication that from a statistical standpoint any differences between
Anglos and blacks/Hispanics within this particular registrant population are indistinguishable. In

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other words, blacks and Hispanics are not more likely than Anglos to lack valid SB 14
identification or proof of citizenship.

I also previously estimated the percentage of the affected (under 65 years of age, did not have a
qualifying disability, had not voted in a post-implementation election) registrant population who
lacked SB 14 and who did not possess documentation for proof of citizenship. In this case,
74,724 registrants, or 0.6%, are thought to fall into this group. This includes 0.6% of Anglos,
0.8% of blacks, and 0.5% of Hispanics. Again, the differences between racial/ethnic groups are
not statistically significant, indicating that the percentages of Anglos, blacks, and Hispanics in
the affected population lacking either a valid SB 14 ID or proof of citizenship are no different
from one another.

To this point one may note that the relative size of the various populations examined has fallen,
as one moves from general to more specific categories. As well, the racial/ethnic disparities
within these various categories are also diminished as one moves from general to specific
subsets. In fact, for the last two categories examined for which data are available, it can be
concluded that there are no racial/ethnic differences present.

Examining those registrants who lack both a valid SB 14 ID and the necessary underlying
documentation (proof of citizenship) to obtain a free EIC and who are unable to exercise an
accommodation comes close to honing in on the group of registrants who may be affected by the
statute. The actual group that are/will be affected by the law, however, are a further subset of the
aforementioned group. These would be registrants unable to make use of an accommodation,
who lack valid SB 14 identification and underlying documentation, and who are who are/would
be unable to obtain documentation and a free EIC. The size and racial/ethnic breakdown of this
group are both unknown. Logically, however, it can be deduced that the overall number of
registrants in this category should be less than the size of the affected population of registrants
who simply lack ID or underlying documentation.

Conclusion
To date, my opinion in this case remains unchanged. In summation, it is my opinion that there is
insufficient evidence to conclude that SB 14 will produce (or has produced) a disparate impact
on the Texas’ electorate, either in total or by racial or ethnic group.




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Table 3. SB 14 Effect by Various Population Groups

                                                                              Total    % of Total
Population                               Data Source                                                  Anglo     Black    Hispanic
                                                                             Number    Registrants

Total Registrants (Sept.) 6              U.S. No-Match List               13,487,594

Registrants Lacking SB 14 ID 7           U.S. No-Match List                  608,469      4.5%        3.6%      7.5%*     5.7%*

Registrants Lacking SB 14 ID 8           Barreto-Sanchez Survey              373,790      2.8%        2.0%      4.5%*     3.9%*

Affected Registrants 9                   U.S. No-Match List                  371,666      2.8%         ----      ----      ----

Affected Registrants 10                  Barreto-Sanchez Survey              242,964      1.8%         .9%      3.3%*     3.1%*

Registrants Lacking Proof of             Barreto-Sanchez Survey              124,654      .9%         1.2%       .8%       .6%
Citizenship 11

Affected Registrants Lacking             Barreto-Sanchez Survey               74,724      .6%          .6%       .8%       .5%
Proof of Citizenship12

Affected Registrants Unable to                        ----                  Unknown     Unknown      Unknown   Unknown   Unknown
Obtain Free ID

Notes: *=difference between Anglos and Blacks/Hispanics statistically significant.



6
  Declaration of Professor Stephen Ansolabehere. September 16, 2014. Table A.VI.2.
7
  Declaration of Professor Stephen Ansolabehere. September 16, 2014. Table A.VI.2.
8
  Rebuttal Declaration of M.V. Hood III. August 1, 2014. Table 10.C, Column 3.
9
  Second Supplemental Rebuttal Report of M.V. Hood III. September 18, 2014. Table 1.
10
   Rebuttal Declaration of M.V. Hood III. August 1, 2014. Table 10.D, column 3.
11
   Rebuttal Declaration of M.V. Hood III. August 1, 2014. Table 11.A, column 3.
12
   Rebuttal Declaration of M.V. Hood III. August 1, 2014. Table 11.B, column 3.

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II.      DECLARATION

I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct to the best of my knowledge.




Executed on September 18, 2014.




                                            ___________________________________

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                                   Appendix: Data Sources

Updated Voter History Files, 2013-14 [Texas Secretary of State].

September U.S. No-Match List [created by Professor Ansolabehere].

Second August Revised U.S. No-Match List [created by Professor Ansolabehere].

August U.S. No-Match List Supplement [created by Professor Ansolabehere].




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